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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS                          PM 1:28
                                                                   ThI6AUG-
                             AUSTIN DIVISION


JON R. DEUTSCH,                      §
                  Plaintiff,         §
V.                                   §
                                     §
ROY HENRY,                           §       A-i 5-CV-49O-LY-ML-
                  Defendant.         §




                                     N

JON R. DEUTSCH,                      §
                  Plaintiff,         §
V.                                   §
                                     §       A-i 5-CV-807-LY-ML
DRAKER ENTERPRISES, INC.,            §
               Defendant.



JON R, DEUTSCH,                      §
                  Plaintiff,         §
V.                                   §
                                     §       A-i 5-CV-1238-LY-ML
CHIWAWA, INC.,                       §
                  Defendant.


                                     N

JON R. DEUTSCH,                      §
                  Plaintiff,         §
V.                                   §
                                     §       A-i 6-CV-88-LY-ML
CHRIS D. CLARK AND RONI CLARK,       §
                Defendants.




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JON R. DEUTSCH,                      §
                  Plaintiff,         §
V.                                   §
                                     §
LA TIERRA DE SIMMONS FAMILIA         §     A-15-CV-901-RP-ML
LTD.,                                §
                  Defendant.



                                     §
JON R. DEUTSCH,                      §
                  Plaintiff,         §
V.                                   §
                                     §     A-i 5-CV-974-RP-ML
PHIL'S ICEHOUSE INC.,                §
                 Defendant.
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          On August 3, 2016, the undersigned held a hearing on pending motions in the above-

styled causes. The motions were referred to the undersigned for disposition by United States

District Judges Lee Yeakel and Robert Pitman. See 28 U.S.C.         §   636(b)(1)(A),   FED.   R. Civ. P.

72; Loc. R. W. D. Tex. Appx. C, Rule 1(d). Because many of the issues in the pending motions

contain similar, if not identical, legal and factual questions, and because the Plaintiff, his

counsel, and the various Defendants' counsel are identical in each case, the undersigned

determined it was efficient to hold a single oral hearing on all pending, referred motions in the

above-styled causes. This Order memorializes certain matters discussed in the hearing.

          In each of the above-styled causes of action, Defendants have filed motions requesting

sanctions be imposed on counsel for Plaintiff. Having conducted a preliminary hearing on these

sanctions motions, the undersigned finds that an evidentiary hearing on Defendants' sanction

requests is in order. See, e.g., Meriman    v.   Security Ins. Co. of Hartford, 100 F.3d 1187, 1192

(5th Cir. 1996) (noting discretionary nature of evidentiary hearing on a motion for sanctions);

Wyle v.    R.J Reynolds Indus., Inc., 709 F.2d 585, 592 (9th Cir. 1983) ("When necessary, the

district court may hold an evidentiary hearing on a motion for sanctions."). Accordingly, as

stated at the August 3rd hearing, Defendants shall have until August 10, 2016 to file briefing

regarding the alleged sanctionable conduct of Plaintiffs counsel. In their briefing, Defendants

must specify the exact statements or actions of Plaintiff's counsel that they believe merit

sanctions and identify the capacity in which these statements were made.

          Plaintiff's counsel will have seven (7) days from the date of Defendants' filing to submit

a response to Defendants' allegations.       The undersigned will then review the briefing and

determine which allegations of sanctionable conduct merit an evidentiary hearing.


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        Finally, at the August 3rd hearing, counsel for Plaintiff indicated that he intended to

withdraw several of the motions he has filed across the above-style actions, including several of

his own motions for sanctions. As stated on the record at the August 3rd hearing, any motions

that Plaintiff's counsel has not moved to withdraw by Friday August 5, 2016 will be considered

ripe for disposition.




        SIGNED August 4, 2016.

                                                  MARK
                                                                 TES MAGISTRATE JUDGE
